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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 20-61267-CIV-SINGHAL

LORENZO SANCHEZ,

        Plaintiff,

v.

CITY OF CORAL SPRINGS, et al.,

     Defendants.
_____________________________/
                         ORDER OF DISMISSAL WITHOUT PREJUDICE

        THIS CAUSE is before the Court on a sua sponte review of the record. On August 4, 2021,

Plaintiff’s counsel moved to withdraw from representing Plaintiff in this case, (DE [29]), which the

Court granted (DE [30]). In the withdrawal Order, the Court gave Plaintiff until August 26, 2021, to

either: (a) retain new counsel and have counsel file a notice of appearance; or (b) file a notice of

intent to proceed pro se. Id. The Court also cautioned Plaintiff that failure to comply may result in a

dismissal without prejudice without further notice. Id. Plaintiff’s now-withdrawn counsel filed a notice

of compliance indicating that a copy of the withdrawal Order was both emailed and mailed to Plaintiff.

(DE [31]).

        The time for compliance has passed, and Plaintiff has neither retained new counsel nor filed

a notice of intent to proceed pro se. Accordingly, it is hereby

        ORDERED AND ADJUDGED that this action is DISMISSED WITHOUT PREJUDICE. The

Clerk is directed to CLOSE this case and DENY AS MOOT any pending motions.

        DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 27th day of August 2021.




Copies furnished to counsel via CM/ECF and to Lorenzo Sanchez, pro se, via U.S. Mail
